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                       IN THE UNITED STATES DISTRICT COURT FOR
                              NORTHERN DISTRICT OF FLORIDA
                                      (Gainesville Division)


UNITED STATES OF AMERICA )
                                      )
               v.                     )                           Docket No. 1:07CR14-002-MMP
                                      )
       CHEREE PLATE                   )

                                      ORDER

       This matter is before the Court on a petition alleging that the defendant violated the

conditions of her pretrial release as outlined in Pretrial Form PS8 filed with the Clerk of the U. S.

District Court for the Northern District of Florida, on May 2, 2008.

       Based on the defendant’s admission of guilt to the violations as outlined in the Pretrial Form

PS8, the Court finds that the defendant violated the terms and conditions of her pretrial release.

       IT IS HEREBY ORDERED that the defendant be continued on pretrial release under the

same terms and conditions previously imposed, with the following modifications:

       1) The defendant shall reside with her sister in Marion County, Florida and shall not travel

beyond Marion County, Florida or the Northern District of Florida.

       2) Condition 14 of the Court’s original order dated October 3, 2007, shall be modified to

include Electronic Monitoring. The costs of the monitoring shall be born by the government.

       DONE AND ORDERED this              8th day of May, 2008.



                                      s/Maurice M. Paul
                                      MAURICE M. PAUL, SENIOR
                                      UNITED STATES DISTRICT JUDGE


                                      May 16, 2008
                                      DATE
